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   8                       IN THE UNITED STATES DISTRICT COURT
   9                         FOR THE DISTRICT OF RHODE ISLAND
  10

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  12
       STATE OF COLORADO ET AL,
  13
                                      Plaintiffs, DECLARATION OF DR. BLAYNE
  14                                              CUTLER IN SUPPORT OF
                   V.
                                                  PLAINTIFFS’ MOTION FOR A
  15                                              TEMPORARY RESTRAINING ORDER
  16
       U.S. DEPARTMENT OF HEALTH AND HUMAN
       SERVICES; ROBERT F. KENNEDY, JR., IN
  17   HIS OFFICIAL CAPACITY AS SECRETARY OF
       HEALTH AND HUMAN SERVICES,
  18
  19                                Defendants.

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        DECL. OF DR. BLAYNE CUTLER IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING ORDER
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                                DECLARATION OF DR. BLAYNE CUTLER
   1
              I, Dr. Blayne Cutler, pursuant to 28 U.S.C. § 1746, hereby declare the following to be true
   2

   3   and correct:

   4           1.     I am the Chief Executive Officer (“CEO”) of Public Health Foundation
   5   Enterprises, Inc., dba Heluna Health (“Heluna Health”), a California nonprofit corporation
   6
       headquartered at 13300 Crossroads Pkwy N #450, City of Industry, CA 91746. I hold both an
   7
       MD and PhD, with professional experience and training in matters relating to infectious disease
   8
       and public health. I joined Heluna Health as CEO in 2014, after having previously served as New
   9

  10   York City’s Assistant Commissioner for HIV Treatment, Care and Housing, and the city’s

  11   Director of HIV Prevention.

  12           2.     As the CEO of Heluna Health, I have personal knowledge of the matters set forth
  13   below or have knowledge of the matters based on my review of information and records kept in
  14
       the ordinary course of business by Heluna Health. I submit this declaration in support of
  15
       Plaintiffs’ Motion for Injunctive Relief.
  16
               3.     Heluna Health is a mission-focused, California-based nonprofit, focused on
  17

  18   enhancing the health, wellness, and resilience of every community we serve. As part of this work,

  19   we support research, service, and training to add to public health knowledge; and receive and

  20   administer funds for public health implementation and research, all for the public welfare.
  21
               4.     Among its responsibilities, Heluna Health is the bona fide agent for certain
  22
       cooperative agreements with the California Department of Public Health (“CDPH”) for purposes
  23
       of receipt and distribution of certain federal funds supporting California’s public health responses
  24
       to infections disease threats, such as influenza, H1N1, Zika, Ebola, antimicrobial resistant
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  26   pathogens, and COVID-19. Our work includes accounting, progress and financial reporting, grant

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        DECL. OF DR. BLAYNE CUTLER IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING ORDER
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       application and hiring personnel to support the implementation of public health strategies and
   1
       activities. We have served as a bona fide agent to CDPH since approximately 2012.
   2

   3           5.        CDC guidance states that health departments can use an administrative partner or

   4   bona fide agent—an organization that a state has identified as eligible to apply for and manage
   5   grants in its stead—to expedite the federal grant process and increase their competitiveness in
   6
       applying for federal funding, processing grants, hiring staff, implementing grant activities, and
   7
       assisting with compliance with grant requirements. In turn, CDPH designates bona fide agents like
   8
       Heluna Health to reduce the costs and burdens to the State of administering federal financial
   9

  10   assistance, allowing more funding to flow to local and state public health agencies with greater

  11   speed and efficiency. CDPH is thereafter responsible for the strategic and scientific direction of

  12   federal funds expended within the State, including the designated public health activities supported
  13   by those funds.
  14
               6.        Relevant here, Heluna Health serves as the bona fide agent for CPDH in connection
  15
       with CDC’s “Epidemiology and Laboratory Capacity for Infectious Disease” (“ELC”) cooperative
  16
       agreement. The ELC agreement includes COVID-specific supplemental awards. Among these
  17

  18   awards, on or around May 18, 2020, the CDC issued a “Notice of Award” amending the ELC

  19   cooperative agreement to include the CARES Enhancing Detection (“ED”) program for

  20   California’s COVID-19 response. Attached hereto as Exhibit A is true and correct copy of the
  21
       Notice of Award for the ED program. Likewise, on or around January 13, 2021, the CDC issued a
  22
       second COVID-related Notice of Award amending the ELC cooperative agreement to include the
  23
       Enhancing Detection Expansion (“EDx”) program. Attached hereto as Exhibit B is a true and
  24
       correct copy of the Notice of Award for the EDx program. The ED and EDx programs were the
  25

  26   largest and most material of their kind.

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        DECL. OF DR. BLAYNE CUTLER IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING ORDER
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               7.     Consistent with CDC guidance, Heluna Health and CDPH worked together on the
   1
       ED and EDx programs so COVID-19 funds were used for laboratory testing, monitoring, and
   2

   3   workforce capacity; to advance electronic data exchange; to coordinate and engage with the

   4   public; and crucially, to leverage data and resources to support the ongoing investigation,
   5   response, and prevention of COVID-19.
   6
               8.     On or around March 25-26, 2025, CDC transmitted two Notice of Awards
   7
       purporting to unilaterally amend the ELC Agreement to defund the ED and EDx programs, along
   8
       with smaller COVID-19 programs, with one such Notice of Award expressly stating CDC would
   9

  10   “terminate the use of any remaining COVID-19 funding” associated with the agreement

  11   (“Termination”). Attached hereto as Exhibits C and D are a true and correct copy of the NOAs

  12   effectuating the Termination. (For reference, Item No. 34 in each notice reflects the reduction of
  13   funds to $0.00 for the ED and EDx programs.) Prior to the Termination, the ED and EDx awards,
  14
       and smaller COVID-19 awards, were slated to expire over a period of time ending July 31, 2027.
  15
               9.     With the Termination, public health programs across the State, serving a population
  16
       of over 35 million Californians, stand to lose over approximately a half-billion dollars.1 The monies
  17

  18   lost will directly and profoundly inhibit California’s response to the ongoing public health harms

  19   from COVID-19, which remains endemic to the population, continuing to cause illness and death

  20   among Californians.
  21
               10.    The ongoing health risks from COVID-19 are particularly high for populations with
  22
       underlying health conditions and/or demographic risk, such as the elderly or those with cancer or
  23
       diabetes. COVID-19 continues to cause illness and death in California. By way of illustration, from
  24
       June 30, 2024 through March 22, 2025, more than 2,000 people who died in California did so, in
  25

  26
       1 This is an estimate. The details relating to the termination action require clarification. CDC does
  27   not define “COVID-19 funding” or clarify the status of certain obligated and unobligated funds,
       and the 30-day closeout period for the funding specified by CDC creates operational and
  28   regulatory conflicts.
                                                       3
        DECL. OF DR. BLAYNE CUTLER IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING ORDER
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       part, from COVID-19, according to death certificate data. Attached hereto as Exhibit E is a true and
   1
       correct copy of the California Respiratory Weekly Virus Report published by CDPH for the week of
   2

   3   March 16-22, 2025 (see page 12 for a reporting of COVID-19 deaths). Continuing to understand and

   4   address this recently emerged disease remains vitally important to continue to limit its harms.
   5           11.    For Heluna Health’s part, the Termination will all but eliminate services our team
   6
       members offer, including epidemiologic analysis, laboratory testing and/or confirmation, analysis
   7
       of outbreaks and epidemiologic modelling and related activities (i.e. having the trained personnel
   8
       who can best anticipate, understand and track this disease, analyze its impact on populations and
   9

  10   inform the public regarding treatment in order to mitigate harm). For example, this termination

  11   will severely impact innovative methodologies that serve as new, early warning signs of disease

  12   in a population, such as programs that monitor wastewater, or the ‘Wastewater-Based
  13   Epidemiology’ program.
  14
               12.    Further, as someone who has dedicated my professional career to public health, the
  15
       impact of the Termination on public health will be equally devastating. It will accelerate the
  16
       dismantling of the very infrastructure needed, such as genomic sequencing for infectious diseases,
  17

  18   which help us rapidly understand and mitigate harm from novel emerging diseases like COVID-

  19   19 in a way that will certainly cause unnecessary death.

  20           13.    If the termination of the funding is not enjoined, there will be immediate and
  21
       irreparable damage to COVID-19 programs administered by Heluna Health, including significant
  22
       staff layoffs; closure of facilities and offices; significant reductions of surveillance and data
  23
       analysis capabilities; and interruption of disease-related data and information dissemination. I
  24
       expect CDPH will be similarly impacted. And even more concerning, the Termination will likely
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  26   lead to worsening health, up to and including death for thousands of Californians.

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        DECL. OF DR. BLAYNE CUTLER IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING ORDER
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              I declare under penalty of perjury that the foregoing is true and correct.
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       Executed on the 29th day of March, 2025.
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        DECL. OF DR. BLAYNE CUTLER IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING ORDER
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                                 AWARD ATTACHMENTS
Public Health Foundation Enterprises, Inc.
1. Terms and Conditions
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All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.
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                                     AWARD ATTACHMENTS
Public Health Foundation Enterprises, Inc.
1. YR 2 Supplemental Terms and Conditions
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  AWARD INFORMATION


 Incorporation: In addition to the federal laws, regulations, policies, and CDC General
 Terms and Conditions for Non-research awards at
 https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for
 Disease Control and Prevention (CDC) hereby incorporates Notice of Funding
 Opportunity (NOFO) number                 , entitled Epidemiology and Laboratory
 Capacity for Prevention and Control of Emerging Infectious Diseases (ELC), which are
 hereby made a part of this Non-research award, hereinafter referred to as the Notice
 of Award (NoA).


 Supplemental Component Funding: Additional funding in the amount
 $1,696,424,899 is approved for the Year 02 budget period, which is August 1, 2020
 through July 31, 2021.

 The approved component and funding level for this notice of award are:

  NOFO Component                                             Amount

  ELC Enhancing Detection Expansion                          $1,696,424,899


 Recipients have until July 31, 2023 to expend all COVID-19 funds awarded herein.

 Overtime: Because overtime costs are a very likely and reasonable expense during
 the response to COVID-19, CDC will allow recipients to include projected overtime in
 their budgets. Recipients should be careful to estimate costs based on current real-
 time needs and will still be required to follow federal rules and regulations in
 accounting for the employees’ time and effort.

 Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
 agreement awarded by the Department of Health and Human Services (HHS) with funds
 made available under the Coronavirus Preparedness and Response Supplemental
 Appropriations Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic
 Security Act, 2020 (the “CARES Act”) (P.L. 116-136); the Paycheck Protection Program
 and Health Care Enhancement Act (P.L. 116-139); and/or the Consolidated
 Appropriations Act, 2021, Division M – Coronavirus Response and Relief Supplemental
 Appropriations Act, 2021 (P.L. 116-260), agrees, as applicable to the award, to: 1)
 comply with existing and/or future directives and guidance from the Secretary regarding
 control of the spread of COVID-19; 2) in consultation and coordination with HHS,
 provide, commensurate with the condition of the individual, COVID-19 patient care
 regardless of the individual’s home jurisdiction and/or appropriate public health
 measures (e.g., social distancing, home isolation); and 3) assist the United States
 Government in the implementation and enforcement of federal orders related to
 quarantine and isolation.
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 To achieve the public health objectives of ensuring the health, safety, and welfare of all
 Americans, Recipient must distribute or administer vaccine without discriminating on
 non-public-health grounds within a prioritized group. This includes, but is not limited to,
 immigration status, criminal history, incarceration, or homelessness. To this end, and to
 help achieve the public health imperative of widespread herd immunity to COVID-19,
 Recipient must administer or distribute vaccine to any and all individuals within a
 prioritized group in the same timeframe, taking into account available vaccine
 doses. For example, if meatpacking plant workers are a prioritized group, then all
 workers in that group, including undocumented immigrants, must be vaccinated to help
 assure that the plant is in a position to safely resume essential functions.

 In addition, to the extent applicable, Recipient will comply with Section 18115 of the
 CARES Act, with respect to the reporting to the HHS Secretary of results of tests
 intended to detect SARS–CoV–2 or to diagnose a possible case of COVID–19. Such
 reporting shall be in accordance with guidance and direction from HHS and/or
 CDC. HHS laboratory reporting guidance is posted at:
 https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

 Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322),
 the purpose of this award, and the underlying funding, the recipient is expected to
 provide to CDC copies of and/or access to COVID-19 data collected with these funds,
 including but not limited to data related to COVID-19 testing. CDC will specify in further
 guidance and directives what is encompassed by this requirement.

 This award is contingent upon agreement by the recipient to comply with existing
 and future guidance from the HHS Secretary regarding control of the spread of
 COVID-19. In addition, recipient is expected to flow down these terms to any
 subaward, to the extent applicable to activities set out in such subaward.

 Unallowable Costs:
   • Research
   • Clinical care
   • Publicity and propaganda (lobbying):
         o Other than for normal and recognized executive-legislative
             relationships, no funds may be used for:
                  publicity or propaganda purposes, for the preparation, distribution,
                     or use of any material designed to support or defeat the enactment
                     of legislation before any legislative body
                  the salary or expenses of any grant or contract recipient, or agent
                     acting for such recipient, related to any activity designed to
                     influence the enactment of legislation, appropriations, regulation,
                     administrative action, or Executive order proposed or pending
                     before any legislative body
         o See Additional Requirement (AR) 12 for detailed guidance on this
             prohibition and additional guidance on lobbying for CDC recipients:
             https://www.cdc.gov/grants/documents/Anti-
             Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf
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                        Include “Mandatory Grant Disclosures” in subject line)

 AND

 U.S. Department of Health and Human Services
 Office of the Inspector General




                      (Include “Mandatory Grant Disclosures” in subject
 line) or Email: MandatoryGranteeDisclosures@oig.hhs.gov

 Recipients must include this mandatory disclosure requirement in all subawards and
 contracts under this award.

 Failure to make required disclosures can result in any of the remedies described in 45
 CFR 75.371. Remedies for noncompliance, including suspension or debarment (See 2
 CFR parts 180 and 376, and 31 U.S.C. 3321).

 CDC is required to report any termination of a federal award prior to the end of the
 period of performance due to material failure to comply with the terms and conditions
 of this award in the OMB-designated integrity and performance system accessible
 through SAM (currently FAPIIS). (45 CFR 75.372(b)) CDC must also notify the
 recipient if the federal award is terminated for failure to comply with the federal
 statutes, regulations, or terms and conditions of the federal award. (45 CFR
 75.373(b))


  PAYMENT INFORMATION



 The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-
 HHS-TIPS [1- 800-447-8477]) for receiving information concerning fraud, waste, or
 abuse under grants and cooperative agreements. Information also may be submitted by
 e-mail to hhstips@oig.hhs.gov or by mail to Office of the Inspector General,
 Department of Health and Human Services, Attn: HOTLINE,
                              Such reports are treated as sensitive material and
 submitters may decline to give their names if they choose to remain anonymous.

 Payment Management System Subaccount: Funds awarded in support of
 approved activities have been obligated in a subaccount in the PMS, herein identified
 as the “P Account”. Funds must be used in support of approved activities in the
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 NOFO and the approved application.

 The grant document number identified on the bottom of Page 1 of the Notice of
 Award must be known in order to draw down funds.




 Stewardship: The recipient must exercise proper stewardship over Federal funds by
 ensuring that all costs charged to your cooperative agreement are allowable, allocable,
 and reasonable and that they address the highest priority needs as they relate to this
 program.

 All the other terms and conditions issued with the original award remain in effect
 throughout the budget period unless otherwise changed, in writing, by the Grants
 Management Officer.
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                   EXHIBIT E
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                       Respiratory Virus Weekly Report
                                              #: 253

             Week 12: March 16, 2025 – March 22, 2025

This report gives information about SARS-CoV-2 (the virus that causes COVID-19) influenza (flu),
Respiratory Syncytial Virus (RSV), and other respiratory viruses. It’s a quick look at the activity for
each week of surveillance and updates most Fridays. The data is early and might change in future
reports as we have more information. This report doesn’t cover all areas of California, so it might
not represent the entire state’s public health situation.



                                     - Report Highlights -
The 2024-2025 Respiratory Virus Season covers June 30, 2024 through June 28, 2025.


                                                           COVID-19              FLU            RSV


          Test Positivity (change)                         2.1% (0.1)       11.8% (-0.4)   3.1% (-0.7)


          New Admissions Rate per 100,000 Persons
                                                            1.1 (-0.4)        1.5 (-1.0)       N/A
          (change)


          Percent of Total Deaths (change)                 0.7% (0.2)       0.3% (-0.4)     0.3% (0.1)



          Total Season Pediatric Deaths (new)                 3 (0)            19 (0)          4 (0)


                                                            LOW
          Wastewater Concentrations (trend)                                     N/A            N/A
                                                        (PLATEAUING)

Key Messages

      – Influenza activity is moderate and continues to decrease. RSV activity is low. COVID-19
        activity is low.
      – The majority of positive influenza specimens for this season have been type A with both
        H1 and H3 seasonal subtypes circulating. Although influenza testing volume continues
        to decrease, the number of influenza B positive specimens continues to increase.
      – CDPH data show that only a small percentage of eligible Californians have received the
        appropriate respiratory virus vaccines.

This year’s respiratory virus season has been dominated by seasonal influenza. See CDC’s
Preliminary Estimated Flu Disease Burden 2024-2025 Flu Season. With elevated respiratory
virus activity, now is the time to take added precautions to prevent disease spread, especially if
you have risk factors for severe disease. Get vaccinated, protect yourself from serious illness,
and reduce strain on our healthcare system. Updated COVID-19 and influenza vaccines are still
available. Visit the CDC’s RSV vaccination webpage for information about preventing RSV
infection. Talk to your healthcare provider today.
For the most up to date information on bird flu, please see the bird flu webpage.

Pediatric Deaths Data Notes                       1
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Laboratory Surveillance                                     #: 254

COVID-19

The overall percentage of SARS-CoV-2 detections from results received through electronic laboratory reporting (ELR) during the week
ending March 22, 2025 was 2.1% compared to 2.0% during the week ending March 15, 2025.
Figure 1. Percentage of SARS-CoV-2 Detections from Test Results Received through Electronic Laboratory Reporting,
2022/2023 Season to Date




Percentage of SARS-CoV-2 Detections from Test Results Received through Electronic Laboratory Reporting

                                                                2
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Influenza                                                     #: 255

The overall percentage of influenza detections in clinical sentinel laboratories during the week ending March 22, 2025 was 11.8%
compared to 12.2% during the week ending March 15, 2025.
Figure 2. Percentage of Influenza Detections at Clinical Sentinel Laboratories, 2020/2021 Season to Date




Percentage of Influenza Detections at Clinical Sentinel Laboratories

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Respiratory Syncytial Virus (RSV)

The overall percentage of RSV detections in clinical sentinel laboratories during the week ending March 22, 2025 was 3.1%
compared to 3.8% during the week ending March 15, 2025.
Figure 3. Percentage of RSV Detections at Clinical Sentinel Laboratories, 2020/2021 Season to Date




Percentage of RSV Detections at Clinical Sentinel Laboratories
                                                                 4
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Other Respiratory Viruses                                   #: 257


Figure 4. Percentage of Other Respiratory Pathogen Detections at Clinical Sentinel Laboratories, June 30, 2024 to Date




Percentage of Other Respiratory Pathogen Detections at Clinical Sentinel Laboratories

Lab Data Notes                                                   5
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Hospitalization Surveillance                              #: 258

COVID-19

The overall rate of admissions for COVID-19 from NHSN during the week ending March 22, 2025 was 1.1 compared to 1.5 during the week
ending March 15, 2025.

Figure 5. Rate of COVID-19 Admissions from NHSN from November 1, 2024 to Date




Rate of COVID-19 Admissions from NHSN
                                                              6
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Influenza                                                 #: 259

The overall rate of admissions for Influenza from NHSN during the week ending March 22, 2025 was 1.5 compared to 2.5 during the
week ending March 15, 2025.
Figure 6. Rate of Influenza Admissions from NHSN from November 1, 2024 to Date




Rate of Influenza Admissions from NHSN

NHSN Hospitalization Data Notes
                                                              7
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Respiratory Syncytial Virus (RSV)                          #: 260

The overall percentage of admissions for RSV in Kaiser Permanente facilities in northern California during the week ending March 22,
2025 was 0.4% compared to 0.5% during the week ending March 15, 2025.
Figure 7. Percentage of RSV Admissions at Kaiser Permanente Northern California Facilities, 2020/2021 Season to Date




Percentage of RSV Admissions at Kaiser Permanente Northern California Facilities

Kaiser Hospitalization Data Notes                              8
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Mortality Surveillance                                      #: 261

COVID-19

The overall percentage of deaths with COVID-19 listed anywhere on the death certificate during the week ending March 22, 2025
was 0.7% compared to 0.5% during the week ending March 15, 2025.
Figure 8. Percentage of deaths attributed to COVID-19 in death certificates, 2022/2023 Season to Date




Percentage of Deaths Attributed to COVID-19 in Death Certificates

                                                                9
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Influenza                                                     #: 262

The overall percentage of deaths with influenza listed anywhere on the death certificate during the week ending March 22, 2025 was 0.3%
compared to 0.7% during the week ending March 15, 2025.
Figure 9. Percentage of deaths attributed to Influenza in death certificates, 2020/2021 Season to Date




Percentage of Deaths Attributed to Influenza in Death Certificates

                                                                     10
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                                                             #: 263
Respiratory Syncytial Virus (RSV)

The overall percentage of deaths with RSV listed anywhere on the death certificate during the week ending March 22, 2025 was 0.3%
compared to 0.2% during the week ending March 15, 2025.
Figure 10. Percentage of deaths attributed to RSV in death certificates, 2020/2021 Season to Date




Percentage of Deaths Attributed to RSV in Death Certificates
                                                               11
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Figure 11. Age Distribution of COVID-19, Flu, and RSV-Coded
                                                        #: 264Deaths from Death Certificates, 2024/2025 Season to Date




Age Distribution of COVID-19, Flu, and RSV-Coded Deaths from Death Certificates

Death Data Notes                                              12
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                                                          #: 265
Wastewater Surveillance

COVID-19

Statewide concentrations of SARS-CoV-2 RNA in wastewater are at a low level, and concentrations are plateauing compared to 21 days
ago. Local and regional levels and trends may differ from state-wide estimates. Among individual sites, 32% are decreasing and 53%
are increasing.
Figure 12. Aggregated SARS-CoV-2 RNA wastewater concentrations, from 2022/2023 Season to Date




Aggregated SARS-CoV-2 RNA Wastewater Concentrations
                                                              13
Wastewater Data Notes
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Resources                                   #: 266


Explore CDPH Data: COVID-19, Influenza, RSV

  •    COVID-19
       – COVID-19 Resources
       – COVID-19 Vaccines
       – COVID-19 Vaccine Data
       – COVID-19 Health Equity
       – SARS-CoV-2 Variant Tracking
       – California Wastewater Surveillance Program
       – CDPH CalSuWers Wastewater Dashboard
       – CDPH Wastewater Surveillance Open Data Portal
       – Border Health Status Report
  •    Influenza
       – Influenza (Flu)
       – Novel Influenza
       – H5N1 Bird Flu
  •    RSV
       – RSV Resources
  •    General Respiratory Virus Resources
       – Respiratory Virus Report Datasets and Data Dictionaries on Open Data Portal
       – Respiratory Virus Toolkit
       – HAI Respiratory Virus Resources


Explore CDC and Other Resources

  • COVID-19
       –COVID-19 | CDC
       –COVID-19 Data Tracker for deaths, ED visits, and test positivity | CDC
       –COVID-19 Vaccine Resources | CDC
  • Influenza
    – Influenza (Flu) | CDC
    – Weekly U.S. Influenza Surveillance Report (FluView) | CDC
    – FluView Interactive | CDC
    – FluVaxView- Flu Vaccine Coverage | CDC
  • RSV
    – About RSV | CDC
    – RSVVaxView- RSV Vaccine Coverage | CDC


  • General Respiratory Virus Resources
       –   Emergency Department (ED) Visits for Viral Respiratory Illnesses | CDC
       –   Respiratory Virus Activity Levels | CDC
       –   Respiratory Illness Data Channel | CDC
       –   National Wastewater Surveillance System (NWSS) | CDC
       –   WastewaterSCAN Dashboard
       –   About Wastewater Data (NWSS) | CDC


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                                               #: 267
                                  About This Report
More Information
      • Accessible .csv files with data for all figures can be downloaded from the Open Data
        Portal (ODP).
      • For questions regarding influenza and RSV surveillance and reporting in California,
        please email InfluenzaSurveillance@cdph.ca.gov.
      • For questions regarding COVID-19 surveillance and reporting in California, please email
        COVIDepi@ cdph.ca.gov.

Lab Data
  •     COVID-19
        – Data are received by the California Department of Public Health (CDPH) through
          electronic laboratory reporting of test results for COVID-19 among California residents.
        – COVID-19 testing data from Los Angeles County (LAC) has an additional 7-day lag.
        – For dates March 11, 2025 and after, LAC COVID-19 testing data are sourced from
          the Testing Object Result eXchange (TORX) data.
        – Test positivity is based on SARS-CoV-2 test results with a specimen collection date
          reported during a given week. Weeks are defined as Sunday through Saturday.
        – Test positivity is calculated by dividing the number of positive Nucleic Acid
          Amplification Test (NAAT) results by the total number of tests done.

  •     Influenza, Respiratory Syncytial Virus (RSV), and Other Respiratory Viruses (RVs)
        – CDPH gets data from volunteer labs in California called Sentinel Clinical Laboratories.
            These labs report how many tests were positive for influenza, RSV, and other RVs
            each week, and how many tests they did.
        – Volunteer labs include two large regional healthcare system laboratories covering
            counties in the Bay Area, Greater Sacramento, San Joaquin Valley, and Southern
            California regions of California, four children’s hospital labs in the Bay Area (1), San
            Joaquin Valley (1) and Southern California (2), seven general acute care hospital labs
            in the Bay Area (2) and Southern California (5), and one clinic in Southern California.
        – These numbers don’t include all the testing for influenza, RSV, and other RVs in
            California.
        – Test positivity is based on testing results reported during a given week. Weeks are
            defined as Sunday through Saturday. The data comes from labs that take part in the
            program.
        – Test positivity is the number of positive results divided by the total tests done.

National Healthcare Safety Network (NHSN) Hospitalization Data
  •     COVID-19 and Influenza
         – On November 1, 2024, the new NHSN rules started. They require reporting
           COVID-19 and influenza hospital admissions.
         – CDPH pulls NHSN data from the Centers for Disease Control and Prevention
           (CDC) on the Wednesday prior to the publication of the report. Results may differ
           depending on which day data are pulled.
         – Admission rates are calculated using population estimates from the P-3: Complete
           State and County Projections Dataset provided by the state of California Department
           of Finance. Reported weekly admission rates for the entire season use the
           population estimates for the year the season started.
         – For more information on NHSN data including the protocol and data collection
           information, see the CDC NHSN webpage.

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                                              #: 268
Kaiser Hospitalization Data

  •     Respiratory Syncytial Virus (RSV)
          – CDPH counts RSV-related admissions at Kaiser Permanente (KP) Northen California
            hospitals as those with diagnoses that include “RSV,” “syncytial,” or “bronchiolitis.”
            These numbers don’t always mean the admissions were confirmed by a lab.
          – To find the percentage of RSV admissions, divide the number of RSV admissions
            by the total number of admissions during the same period.
          – Admissions for pregnancy, labor and delivery, birth, and outpatient procedures are
            not included in the total number of admissions.

Death Data

  •  COVID-19
         – COVID-19 death data come from CDPH’s Comprehensive Death File.
  • Influenza and Respiratory Syncytial Virus (RSV)
         – Influenza and RSV death data come from CDPH. For 2020 to the present, the data is
           from the Comprehensive Death File (Dynamic). For 2018 and 2019, it’s from the
           Comprehensive Death File (Static).
   • These numbers do not always mean the COVID-19, influenza or RSV deaths were
     confirmed by a laboratory.
   • California counts deaths from COVID-19, influenza, and RSV for residents. It does so
     if the death certificate mentions any of these illnesses.

Wastewater Surveillance Data for COVID-19

      • These data represent wastewater data produced by multiple groups throughout California
        contributing to the California Surveillance of Wastewaters (Cal-SuWers) network. These
        groups include the California Department of Health Drinking Water and Radiation
        Laboratory (DWRL), WastewaterSCAN (through Verily laboratory), CDC NWSS (through
        Verily laboratory), and additional county, academic, and private programs in California.
        Not all wastewater surveillance programs in California participate in the Cal-SuWers
        network.
           – There is a special system for testing for the SARS-CoV-2 virus in wastewater.
             The testing locations are not evenly spread across the state. The number of
             sites, where they are, and the labs that work with them have changed a lot over
             time. For details about the sites involved, check the CDPH Wastewater
             Surveillance homepage.
      • RNA is taken from wastewater samples and tested using PCR methods that look for a
        specific part of the N gene of SARS-CoV-2.
      • The amount of SARS-CoV-2 in wastewater from all sites in California is combined to get a
        big picture of current trends and levels across the state. This is done using the CDC’s
        Wastewater Viral Activity Level (WVAL) method. The weekly state SARS-CoV-2 trend
        and level are only reported if at least 50% of sites in California measure at least one
        wastewater sample that week.
      • Site specific wastewater data are available on the CDPH Wastewater Surveillance Network
        Dashboard and a downloadable wastewater dataset is available through the
        California Health and Human Services Open Data Portal Wastewater Surveillance
        Data page.
      • Wastewater trends are checked by looking at the average change in levels over the past
        three weeks. The changes are grouped into these categories:

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          – Decreasing: Less than -20% means levels are going down.
          – Plateau: Between -20% and +20% means levels are steady.
          – Increasing: More than 20% means levels are going up.
          – Strong increase: More than 100% means a big increase.
          – Very strong increase: More than 250% means a very big increase.
      • Wastewater levels are evaluated by comparing the current concentration in wastewater to
        percentiles of historical concentrations over the past 365 days. If the current level is in the
        bottom third, compared to levels from the past year, it’s considered low. If it’s in the
        middle third, it’s considered medium. If it’s in the top third, it’s considered high.

Pediatric Deaths

  •  COVID-19
       – COVID-19 pediatric deaths require laboratory confirmation (positive PCR) and are
          sourced from the California Department of Public Health, California
          Comprehensive Death File (Dynamic).
  • Influenza
       – Providers must report influenza-related deaths in children under 18. This is required
          by California law (Title 17, Section 2500 of the California Code of Regulations
          (PDF)). These deaths also need to be confirmed by a laboratory test.
  • Respiratory Syncytial Virus (RSV)
       – Providers must report RSV-related deaths in children under 5. This is required by
          California law (Title 17, Section 2500 of the California Code of Regulations (PDF)).
          These deaths also need to be confirmed by a laboratory test.
   • To find pediatric deaths from COVID-19, influenza, and RSV, the methods look at
     what’s written on death certificates, and they do not use lab tests. This is different from
     how we identify these deaths when lab tests are required. Providers are required to
     report influenza and RSV pediatric deaths, following rules in Title 17, Section 2500
     (PDF).




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